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                               IN THE UNITED STATES DISTRICT CIRCUIT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION

 STEVEN KNURR, et al.,                                           )
                                                                 )
                                      Plaintiff,                 )   Civil Action No.: 1:16-cv-01031-TSE-MSN
                                                                 )
                        v.                                       )   CLASS ACTION
                                                                 )
 ORBITAL ATK, INC., et al.,                                      )
                                                                 )
                                      Defendants.
                                                                 )
                                                                 )



                DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION TO SEAL

            Defendants1 file this memorandum in response to Plaintiffs’ Motion to Seal (ECF 177).

 In Plaintiffs’ motion, Plaintiffs moved to seal material that Defendants have designated as

 confidential. In accordance with the Local Rules of this Court, Defendants respond to the motion

 as follows:

            First, the documents to be sealed are certain materials revealing sensitive, confidential

 business and financial matters that were the subject of the Orbital ATK, Inc. internal

 investigation, including certain “witness interview reports” referenced in this Court’s Order

 dated May 4, 2018, and also referenced in, inter alia, the Declarations of Douglas A. Fellman

 previously filed with the court (ECF 157 & 196). Defendants incorporate these Declarations into

 this response. The Declarations explain, inter alia, that the “interview memoranda . . . reflect

 confidential communications between employees and former employees of Orbital ATK, Inc. on

 the one hand, and Orbital ATK Inc.’s outside counsel, Hogan Lovells US LLP (“Hogan

 Lovells”), on the other hand, made in connection with an investigation that Hogan Lovells

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     The term “Defendants” as used herein refers to all Defendants in this action other than Mark DeYoung.



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 performed at the instruction of its client. . . . the final witness interview reports incorporate the

 evaluations, interpretations, and clarifications of the Hogan Lovells/Alvarez & Marsal

 investigative team, and the wording of the final witness interview reports were used in providing

 oral briefings to the SEC.” Declaration at 1-3 (ECF 196).

         Second, sealing is warranted because the documents sought to be sealed are confidential,

 sensitive, and otherwise meet the standards of both the Stipulated Protective Order entered in this

 case (ECF 125) and the governing case law for sealing in the Fourth Circuit. Specifically, these

 documents were properly marked confidential pursuant to the Protective Order, and permanent

 sealing is warranted, because of the highly confidential (and in the case of the interview reports,

 privileged and work product) nature of the documents. As noted above, the documents at issue

 include interview reports drafted by attorneys in connection with an internal investigation into

 internal corporate practices at Orbital ATK. Defendants respectfully contend that in

 circumstances in which it is the position of a party that documents are of a confidential,

 privileged, and work product nature, it is proper for that party – as Defendants do here –

  to continue to take all reasonable steps to protect against the public disclosure of such material

 (even where a court has ordered disclosure of some or all of the documents at issue to other

 parties in the case). See, e.g., In re Grand Jury Proceedings, 727 F.2d 1352, 1357 (4th Cir.

 1984) (“Any disclosure inconsistent with maintaining the confidential nature of the attorney-

 client relationship waives the attorney-client privilege.”) (citing United States v. Jones, 696 F.2d

 1069, 1072 (4th Cir. 1982)).

         Further, all the material at issue falls within the definition of “Confidential Discovery

 Material” in the Stipulated Protective Order (ECF 125). In view of, inter alia, the confidential,

 financial and business nature of the subject matter of the investigation as to which the documents




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 at issue relate,2 the documents on their face plainly contain and reflect “non-public, confidential,

 . . . proprietary, customer, [and] commercially sensitive information that is of such a nature and

 character that [Defendants] in good faith reasonably believe[] the disclosure of such information

 is likely to cause substantial injury . . . that cannot be avoided by less restrictive means.” ECF

 125 at 3-4.

          Courts have protected various similar forms of sensitive business information from

 disclosure. See, e.g., ZUP, LLC v. Nash Mfg., Inc., No. 3:16-CV-125-HEH, 2016 WL 11082038,

 at *1 (E.D. Va. Oct. 27, 2016) (granting motion to seal parties' confidential information

 regarding (i) their pricing, sourcing, and business strategies and (ii) labor and material costs for

 manufacturing certain recreational water devices); Syngenta Crop Prot., LLC v. Willowood,

 LLC, No. 1:15-CV-274, 2017 WL 6001818, at *5 (M.D.N.C. Dec. 4, 2017) (sealing exhibits

 containing corporate financial information such as “detailed information on the budgeted and

 actual sales quantity, gross profits, discounts, net price, cost of goods sold, of products at issue in

 the trial, as well as pricing and sales data[,] market strategies, business plans, product lifecycle

 management, and analysis of competition); see also, e.g., W. Insulation, L.P. v. Moore, No.

 CIV.A. 305CV602-JRS, 2006 WL 208590, at *3 (E.D. Va. Jan. 25, 2006). For reasons indicated

 supra, the documents at issue here are even more sensitive and confidential than the materials

 protected by the above-noted courts.

                                                  CONCLUSION

          For all the foregoing reasons, Defendants respectfully request that the Court grant the

 motion. In the event the Court should require any further argument or factual information

 regarding the matters set forth in this response, Defendants respectfully request that they be

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   The sensitive financial and business nature of the matters at issue is made clear in the pleadings and other court
 filings in this case.



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 given an opportunity to provide such additional material, and upon the request of the Court,

 would do so immediately.


 Dated: June 22, 2018
        Washington, DC

                                                     Respectfully submitted,

                                                     SHEARMAN & STERLING


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 22nd day of June 2018, a true and correct copy of the

 foregoing was served via CM/ECF filing on all counsel of record.




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